                                                                       SO ORDERED.


                                                                        Dated: August 27, 2018




 1

 2                                                                     Eddward P. Ballinger Jr., Bankruptcy Judge
                                                                       _________________________________

 3
                                     UNITED STATES BANKRUPTCY COURT
 4                                     FOR THE DISTRICT OF ARIZONA

 5    In Re:
                                                           Case No. 2:18-bk-04969-EPB
 6
      Michael N. Desvigne,                                 Chapter 7
 7
                                                           ORDER AUTHORIZING
 8                       Debtor.                           EMPLOYMENT OF REAL ESTATE
                                                           AGENT FOR CHAPTER 7 TRUSTEE
 9
               The Application to Employ Real Estate Broker for Chapter 7 Trustee (“Application”) filed
10
     by Anthony H. Mason, the Chapter 7 Trustee herein (“Trustee”), having come before the Court
11
     seeking to employ Vincent Zerilli of West USA Realty, Inc. (“Agent”) as Trustee’s real estate
12
     broker in the above-captioned case, and upon the Verified Statement of Vincent Zerilli filed
13
     pursuant to Federal Rule of Bankruptcy Procedure 2014, and there being no objection thereto, and
14
     good cause appearing,
15
               IT IS HEREBY ORDERED as follows:
16
               1.     Approving the Application;
17
               2.     Agent shall be employed as of the date that the application and the verified
18
                      statement were filed with this Court, to serve as real estate broker of the estate
19
                      subject to the terms set forth in the Application with certain qualifications set forth
20
                      hereinafter.
21
               IT IS FURTHER ORDERED that Vincent Zerilli of West USA Realty, Inc. shall provide
22
     the following services to the Trustee:
23
               To list, market and sell that certain real property located at 17612 W. Lundberg Street,
24             Peoria, AZ 85388 , and thereby liquidate the same for the best and highest price;

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 1
              IT IS FURTHER ORDERED approving a real estate broker's commission in an amount
 2
     equal to six percent (6%) of the purchase price for any sale that may arise from said services, and
 3
     in the event of a co-brokered sale, such broker will negotiate to obtain a portion of the commission,
 4
     but no compensation shall be paid until after an appropriate motion has been filed concerning the
 5
     sale of the real property, and notice and a hearing have occurred concerning said sale motion.
 6
                                          DATED AND SIGNED ABOVE
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     2629-001(337114)

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